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TO: Northgate West Condominium Owners
FROM: Northgate West Board of Directors and
Caroline Jones, Community Association Manager
DATE: November 04, 2021
RE: 2022 Budget Ratification Meeting

 

The Board of Directors for the Northgate West Condominium Homeowner’s Association has worked
diligently to prepare the Operating Budget for 2022. They have taken into consideration any projects
that will be necessary to complete in 2022, as well as increases in services such as utilities and insurance,
and funding the Reserve Account. The Board approved 2022 Budget is enclosed for your review.

A Meeting of all Homeowners will be held on:

Date: November 18, 2021
Time: 7:30 PM
Location: Zoom Meeting

The purpose of this meeting of the Homeowners is to consider ratification of the 2022 Budget. Please
note that unless the Owners, to which a majority of the votes in the Association are allocated, are
represented at the Meeting and vote to reject the Budget, the Budget will be ratified, whether or not a
quorum is present.

We encourage everyone to attend this important Meeting and look forward to seeing you there!

Questions; please email me at carolinej@suhrco.com.
Topic: Northgate West - 2022 Budget Ratification Meeting

Join Zoom Meeting
https://usO2web.zoom.us/j/86513832107 ?pwd=ZESON2|xNzValG5pZ2kwREQEREdzdz09

Meeting ID: 865 1383 2107 Passcode: 420251
One tap mobile
+12532158782,,86513832107#,,,,*420251# US (Tacoma)
+16699009128, ,86513832107#,,,,*420251# US (San Jose)

Dial by your location
+1 253 215 8782 US (Tacoma)
+1 669 900 9128 US (San Jose)
+1 346 248 7799 US (Houston)
+1 312 626 6799 US (Chicago)
+1 646 558 8656 US (New York)
+1 301 715 8592 US (Washington DC)
Meeting ID: 865 1383 2107 Passcode: 420251
Find your local number: https://usO2web.zoom.us/u/k6NDtH2gN

A Comprehensive Real Estate Company
2010 156” Avenue NE, Suite 100
Bellevue, Washington 98007
Telephone: (425) 455-0900
Fax: (425) 462-1943

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AGENDA

2022 BUDGET RATIFICATION MEETING
Northgate West Condominiums Owners Association
November 18, 2021

> Roll Call- 7:30pm
> Proof of Notice of Meeting
» Presentation of the 2022 Budget

> Ratification of the 2022 Budget

> Adjournment

 

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ANNUAL

HOA BUDGET

SUHRCO Residential Properties LLC

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Association Northgate West Effective Date:_01/01/2022-12/31/2022 Prepared by Dralt by Caroline Jones & Marcel Scheel
Budget Year 2022 Approved
Ratified,
OA [ 2a want a4 wae % |
No cANow. Sauciget Jan = Aug, Foreceetad Budget cnange, Comments
8 = total number of month used to build budget
INCOME
(Cima “income =]
4140 Monthly Assessment 482, 321,594 482.386 510.820 5.89%
4161 Replacement Reserve Transfer (140,000) (93.333) 140,000) 1140.01 0.00%
4180, Write Off/Misc Adi ents, = = $0. s 9.00% _
[FoTAL ASSESSMENTS 342,306 228761 342,306 370,820 tn +d

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TOTAL OTHER INCOME 200 3581 4055 310
TOTAL INCOME 342,706 251 42. 346421 a0]
EXPENSES
[ Payroll Expense
5010 ManagerOffice 36 504 21738 32.607 36,504 00% Assumes Staffing on site
5052 Payroll Taxes 5,400 2.916 4.374 5 400 0.00%
‘5053 Employee Benefits Hoalin Insurance : 2 E : 0.00% FFT acd in $5500
[TOTAL PAYROLL 47,904 24654 36981 41904 700%
C ‘Administrative ]
‘5070 Telephone 4200 2064 72 200% Century Link, Staff Phone, Emergency Phone $350 Mo
5070-001 Alarm Lines/Emergency Tele 0.00%.
307° Payroll Processing Charge 832 553 830 850 210% ADP Processing Charges
5073 ___ Management Feas 23,000 15.333 23,000 23,690 3.00% ‘SUHRCO Residential Properties LLC
5074 Late Charges Feo 2 = = =
5074-002 Setup Fees : :
5074-003 _ Special Assessment Fee : z z 3
5075 Service Charges 740 480 740 0.00% Columbia Bank Retail Lock Box charges
5076 Postage 250 232 350 40.00% Penodic mailings, Annual Meeling, Budget meeting notice
5077 Office Supplies 600 352 600 0.00% My Green Condo Portal Fees $50 mo.
5080 Additional Service Charges z = =
5084 Foucation 310 310 325, ‘CAT Trainng
5087 Other Admin/Printing/Pholocapying 400 261 302 400 0.00%
5080 Permits, Licenses & Fees 610 7,402 402 7450 127 70% Pool permit, Wade pool permit and annual secretary of stale renewal
5007 Other Office = =
[TOTAL ADMIN 31.232 21,984 32.119 29.077 6.90% ]

 

 

 

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123,680

60,037

105.973

Tm]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

{TOTAL ANT 68.002, 48.085 11657 OTA? 27 78%
Professional Fees ]
310 Legal 3,000 12,743 13,000, 10,000 233.33% General Counsel
330___ Audit 2,450 2,450 2,450 2,450 0.00% Stanford & Munko- 2021 Audit and Tax filing
350__ Reserve Sludy 1418 : 1418 1.418 0.00% “4 Year Plan- David Bach- 2020 completed
i290 Additional management services, 500 Z 500 500 0.00% ‘After hours meetings. insurance claim management, special projects, etc
(TCTAL PROFESSIONAL 7368. 7193 7736, T4368 Som
Ta _]
7136 Federal Income Taxes 3009 3008 Coo Tax overpayment appbed in 2621 $1577
[TOTAL TAXES = 3,009 3,009 0.00% ]
{ Insurance ]
7142__ Insurance - Property 46,000 60,863 60,663 66,540 45.54% Farmers - 10% over fions- Pastel masier in June, EQ expires May -25k deductible
[TCTACINSURANCE 77,000 60,863 60,805 56.940 Sim)
TOTAL EXPENSES 343.5 233,825 333.968) ~ 371330 bed
RESERVES CONTRIBUTION 740,000 100.0 140000. coo |
[ADDITIONAL CONTRIBUTION. = 700% 4d
[RETTORESERVES 740,000 700,000 740,000] com |
[2022 Budgeted Reserve Expenses ] Per Bach & Associates Reserve study for 2022
9225 Stucco Coating Consulting fees $ - Per Bach & Associates Reserve study for 2022 - Eliminated as part of project
9225-001 Tile Flooring Lobby refresh $ 4,125.00 Per Bach & Associates Reserve study for 2022 - Stay per David
9225-002 Irrigation System Major Overhaul $ 14,818.00 Per Bach & Associates Reserve study for 2022 - Stay per David
Paint - Exterior Per Bach & Associates Reserve study for 2022 - Part of Project
Plumbing - Domestic Water & Drain s 5,512.00 Per Bach & Associates Reserve siudy for 2022
Intercom - Door Entry System - Per Bach & Associates Reserve study for 2022 (completed in 2021)
Asphalt Resurface (50% Sound Transit) 5 67,532.00 Per Bach & Associates Reserve study for 2022
Carpet Replacements, hallgays, meeting rm, library, Stairways s 135,586.96 2021 reserve items deferred to 2022 - Carpet replacements +3% in 2022
Pool Equipment replace $s 5,066.00 Per Bach & Associates Reserve study for 2022
TOTAL RESERVE EXPENSE 2022 $ 226,639.96

The Aasonstion DOES NOT presettly Mold a rweerve study update m comphance wih RCW b4 00.559
reel the ews oF apmrana of SUHRCD Resicensal Properses, LLC. Alinlormatan i ingiesive only ane mormon may be Desed en assump
LLC makes any warranty or quaraniee 26 fo the a

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| ANNUAL HOA BUDGET |
SUHRCO Residential Properties LLC

 

 

 

 

 

 

 

 

 

 

 

 

 

Association: Northgate West Effective Date: 01/01/2022-12/31/2022 Prepared by: Draft by: Caroline Jones & Marcel Scheel
Budget Year: 2022 Approved/Ratified: | —SststCS*s*~CS
Unit Allocation
Monthly Assessment Summary
ershi Monthly Totais Change
Unit Owner Percentage 2021 2022
Number of Interest Total Total Dollaiehange RercentageiChange
101 1.285% 516.56 547.00 30.45 5.89%
102 1.285% 516.56 547.00 30.45 5.89%
103 1.285% 516.56 547.00 30.45 5.89%
104 1.285% 516.56 547.00 30.45 5.89%
105 1.285% 516.56 547.00 30.45 5.88%
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111 1.285% 516.56 547.00 30.45 5.89%
112 1.285% 516.56 547.00 30.45 5.89%
113 1.285% 516.56 547.00 30.45 5.89%
114 1.285% 516.56 547.00 30.45 5.89%
415 1.285% 516.56 547.00 30.45 5.89%
116 1.285% 516.56 547.00 30.45 5.89%
qe 1.285% 516.56 547.00 30.45 5.89%
118 1.285% 516.56 547.00 30.45 5.89%
119 1.285% 516.56 547.00 30.45 5.89%
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123 1.285% 516.56 547.00 30.45 5.89%
124 1.285% 516.56 547.00 30.45 5.89%
125 1.285% 516.56 547.00 30.45 5.89%
127 1.285% 516.56 547.00 30.45 5.89%
201 1.402% 563.59 596.81 33.22 5.89%
202 1.402% 563.59 596.81 33.22 5.89%
203 1.401% 563.19 596.38 33.20 5.89%
204 1.402% 563.59 596.81 83.22 5.89%
205 1.402% 563.59 596.81 33.22 5.89%
206 1.401% $63.19 596.38 33.20 5.89%
207 1.402% 563.59 596.81 38.22 5.89%
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227 1.401% 563.19 596.38 33.20 5.89%
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302 1.480% 594.94 630.01 35.07 5.89%
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306 1.480% 594.94 630.01 35.07 5.89%
307 1.480% 594.94 630.01 36.07 5.89%
309 1.480% 594.94 630.01 35.07 5.89%
341 1.480% 594.94 630.01 35.07 5.89%
a42 1.480% 594.94 630.01 35.07 5.89%
313 1.480% 594.94 630.01 35.07 5.89%
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325 1.480% 594.94 630.01 35.07 5.89%
327 1.480% 594.94 630.01 35.07 5.89%
100%
40,198.83 42,568.36

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Reserve Disclosure by Unit

 

Reserve Funding breakdown by unit is intended to show funds contributed, projeced to be contributed, and ideal "full funding" contribution.
These funds do not belong to individual units; the funds belong to the Association for future projects.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ownership Reserve Breakdown Comparative
5 Starting Ending Fully Funded Reserve
UNIT #] CEL % ot Reserve Balance | Reserve Balance Reserve Balance | Deficiency / Surplus
y by Unit by Unit by Unit (comp. to RS)
101 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 -5,434.89
102 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 -5,434.89
103 1.285% 1,799.00 12,273 69 14,072.69 17,708.59 -5,434.89
104 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 -5,434.89
105 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 -5,434.89
106 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 -5,434.89
107 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 -5,434.89
109 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 -5,434.89
101 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 -5,434.89
112 1.285% 1,799.00 12,273.89 14,072.69 17,708.59 -5,434.89
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115 1.285% 1,799.00 12,273.69 14,072.69 17,708.59 5,434.89
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201 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
202 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
203 1.401% 1,961.40 13,381.67 15,343.07 19,307.18 -5,925,52
204 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
205 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
206 1.401% 1,961.40 13,381.67 15,343.07 19,307.18 -5,925.52
207 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
209 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
211 1.401% 1,961.40 13,381.67 15,343.07 18,307.18 -5,925.52
212 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
212 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
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216 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
217 1.401% 1,961.40 13,381.67 15,343.07 19,307.18 -5,925.52
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219 1.402% 1,962.80 13,301.22 15,354.02 19,320.96 -5,929.74
220 1.401% 1,961.40 13,381.67 15,343.07 19,307.18 -5,925.52
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222 1.402% 1,962.80 13,391.22 15,354.02 19,320.96 -5,929.74
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305 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
306 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
307 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
309 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
ott 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
312 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
313 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
314 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
315 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
316 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
317 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
318 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
319 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
320 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
321 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
322 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
323 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
324 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65

 

 

 

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Reserve Fundin Starting Ending Fully Funded Reserve
UNIT#] CEL% by Unit 3 | Reserve Balance | Reserve Balance Reserve Balance | Deficiency / Surplus
— by Unit by Unit by Unit (comp. to RS)

325 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65

327 1.480% 2,072.00 14,136.23 16,208.23 20,395.88 -6,259.65
ee 100% 140,000.00} 955,151.00 1,005,151.00 1,378, 100.00 -422,949.00
| Net to Reserves: | 140,000.00]
| 2022 Starting Reserve Balance: | 955,151.00]
| 2022 Ending Reserve Balance | 1,095,151.00]
| 2022 Fully Funded Reserve Balance (based on RS) | 1,378,100.00]Based on 2020 Reserve Study

 

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